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12                            UNITED STATES DISTRICT COURT
13                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE
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15
16   NINTENDO OF AMERICA, INC.,                        NO.
17
18                       Plaintiff,                    COMPLAINT
19
20           v.                                        JURY DEMAND
21
22   LE HOANG MINH, d/b/a WINMART,
23
24                       Defendants.
25
26
27
28          Plaintiff Nintendo of America Inc. brings this action against Defendant Le Hoang Minh,
29
30   d/b/a Winmart for circumvention of a technological protection measure that controls access to a
31
32   copyrighted work and trafficking in devices intended to circumvent technological protection
33
34   measures. Plaintiff pleads as follows:
35
36                                            I. PARTIES
37
38          1.       Nintendo of America Inc. is a Washington corporation headquartered in Redmond,
39
40   Washington. Nintendo of America Inc. is a wholly owned subsidiary of Nintendo Co., Ltd., a
41
42   Japanese company headquartered in Kyoto, Japan (collectively, “Nintendo”). Nintendo of America
43
44   Inc. is responsible for the marketing, distribution, and sale of Nintendo’s products and the
45


     COMPLAINT - 1                                               GORDON       600 University Street
     No.                                                          TILDEN      Suite 2915
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 1   enforcement of Nintendo’s intellectual property rights, in the United States. Nintendo develops
 2
 3   and designs electronic video game consoles, games, and accessories.
 4
 5           2.       Defendant Le Hoang Minh, d/b/a Winmart offers to the public, sells, and otherwise
 6
 7   traffics in a circumvention device known as the RCM Loader, the sole purpose of which is to hack
 8
 9   or “jailbreak” Nintendo’s video game consoles, circumventing Nintendo’s copyright protection
10
11   systems and allowing people to play pirated video games. Defendant’s acts facilitate infringement
12
13   of Nintendo’s copyrighted works on a massive national and international scale.
14
15                                   II. NATURE OF THE ACTION
16
17           3.       This is a civil action seeking relief for unlawful trafficking in circumvention
18
19   devices in violation of the Digital Millennium Copyright Act (DMCA), 17 U.S.C. § 1201 et seq.,
20
21   and abuse of the DMCA’s counter-notification system under 17 U.S.C. § 512(f).
22
23                                  III. JURISDICTION AND VENUE
24
25           4.       This Court has original jurisdiction over this action under 28 U.S.C. §§ 1331 &
26
27   1338(a) and 17 U.S.C. §§ 1201 & 1203.
28
29           5.       Defendant is subject to the personal jurisdiction of this Court pursuant to
30
31   Washington Revised Code § 4.28.185 and Fed. R. Civ. P. 4(k)(1) because Defendant transacts
32
33   business in the State of Washington and in this District. Defendant has specifically marketed,
34
35   offered to the public, and otherwise trafficked in the circumvention device in the United States and
36
37   in this District. Defendant purposefully directs its activities into this District and to residents of
38
39   this District, does business with residents of this District, and avails itself of the privilege of
40
41   conducting business in this District. Nintendo’s claims arise out of and relate to Defendant’s
42
43   activities in this District.
44
45


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 1             6.    Defendant is also subject to the personal jurisdiction of this Court pursuant to 17
 2
 3   U.S.C. §512(g)(3)(D), which contains explicit consent to jurisdiction upon submission of a DMCA
 4
 5   counter-notification. Specifically, Defendant’s circumvention devices are available for purchase
 6
 7   on the Amazon.com e-commerce platform (“Amazon”). Amazon.com, Inc., which owns and
 8
 9   operates Amazon, is headquartered in this District. Nintendo submitted a DMCA notification to
10
11   Amazon relating to Defendant’s infringing conduct. By submitting a DMCA counter-notification
12
13   to Amazon, Defendant has explicitly consented to the personal jurisdiction of any United States
14
15   federal district court in which Amazon and its affiliates may be found. See 17 U.S.C. §
16
17   512(g)(3)(D). Exhibit A contains a copy of Defendant’s DMCA counter-notification submitted to
18
19   Amazon.
20
21             7.    According to the DMCA counter-notification submitted by Defendant to Amazon,
22
23   Defendant resides in Vietnam. On information and belief, Defendant is not domiciled or located
24
25   in any state in the United States. Defendant is also not incorporated in any state in the United
26
27   States.
28
29                                              IV. FACTS
30
31             8.    Nintendo is a company and brand famous throughout the United States and the
32
33   world, known by consumers of all ages for its video games, video game consoles, and video game
34
35   characters.
36
37             9.    For decades, Nintendo has been a leading developer and producer of video games
38
39   and video game consoles. In 1983, Nintendo released the Nintendo Entertainment System, or
40
41   “NES,” in the United States, which introduced millions of consumers to now-classic games like
42
43   Super Mario Bros., The Legend of Zelda, and Donkey Kong. The NES console also introduced
44
45   millions of consumers to some of Nintendo’s original and long-lasting characters, including Mario

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 1   and Luigi, Yoshi, Link, Donkey Kong, and Samus Aran. Over the ensuing decades, Nintendo
 2
 3   followed up the popularity of the NES console with the release of such groundbreaking home video
 4
 5   consoles as Super Nintendo Entertainment System, Nintendo 64, Nintendo GameCube, Wii, Wii
 6
 7   U, and the Nintendo Switch. Since 1983, Nintendo has sold more than 4.7 billion video games and
 8
 9   more than 750 million hardware units globally.
10
11          10.      In March 2017, Nintendo released a new console called the Nintendo Switch, a
12
13   home video console that can also be played “on the go” in handheld mode. Nintendo develops
14
15   and distributes the Nintendo Switch video game console, as well as the proprietary and copyrighted
16
17   software that serves as the Nintendo Switch’s operating system.
18
19          11.      The Nintendo Switch is sold in stores around the world and has become one of the
20
21   best-selling video game consoles of all time, selling over 68 million units as of September 30, 2020
22
23   worldwide.
24
25          12.      Nintendo also makes award-winning video game software that consumers can
26
27   exclusively play on the Nintendo Switch. The top five Nintendo-developed games released for the
28
29   Nintendo Switch alone have sold more than 95 million copies as of March 2020, and individually
30
31   each game title has sold over 17 million copies. These games, and all other games produced by
32
33   Nintendo, are subject to valid, registered copyrights either owned by Nintendo or exclusively
34
35   licensed by Nintendo.
36
37                Anti-Piracy Technological Protection Measures in the Nintendo Switch
38
39          13.      The popularity of Nintendo’s video games and video game consoles has made
40
41   Nintendo the target of intellectual property pirates who misappropriate and unfairly benefit from
42
43   Nintendo’s innovation and investment. These pirates make unauthorized copies of Nintendo’s
44
45


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 1   video games or create and sell devices used to enable others to play pirated copies of Nintendo’s
 2
 3   video games on a Nintendo console.
 4
 5          14.      Piracy of video game software has become a serious, worsening international
 6
 7   problem. Nintendo has taken affirmative steps around the world and expended significant
 8
 9   resources to halt and prevent the illegal copying, marketing, sale, and distribution of Nintendo’s
10
11   video games (or games made by licensed developers) designed to be played on Nintendo’s video
12
13   game consoles, and to halt the illegal trafficking in devices that allow users to play unauthorized
14
15   copies of games on Nintendo’s video game consoles.
16
17          15.      To protect its intellectual property against video game piracy, and to ensure that
18
19   only authorized and licensed Nintendo Switch games can be played on the Nintendo Switch
20
21   console, Nintendo designed the Nintendo Switch with sophisticated security features. These
22
23   features are designed to prevent unauthorized access to the console and games, the circumventing
24
25   or impairing of Nintendo’s operating system, and the unauthorized copying, playing, and sharing
26
27   of games (the “technological protection measures,” or “TPMs”). The technological protection
28
29   measures also prevent Nintendo Switch users from playing pirated video games.
30
31          16.      Each Nintendo Switch console contains an encrypted identifier, or “signature,” that
32
33   is checked when the Nintendo Switch console powers on. The operating system also contains
34
35   technological protection measures designed to ensure that the operating system is authorized. The
36
37   Nintendo Switch console will only start up normally if the technological protection measures
38
39   confirm that the operating system is authentic, i.e., authorized by Nintendo.
40
41          17.      The Nintendo Switch also contains technological protection measures for each
42
43   game played on the Nintendo Switch (the “game TPMs”). The game TPMs use encryption and
44
45   signature similar to that of the Nintendo Switch’s console operating system. The Nintendo Switch

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 1   console allows users to either purchase physical cartridges containing game software or to
 2
 3   download digital games from Nintendo’s online store while using the Nintendo Switch. Both game
 4
 5   formats are protected by encryption.
 6
 7          18.      The game data, whether stored on the Nintendo Switch console’s built-in flash
 8
 9   memory or on a removable flash memory card that users can insert into the console, is also
10
11   encrypted with a key.
12
13          19.      Nintendo owns or exclusively controls numerous copyrights in software and games
14
15   that are protected from unlawful access and copying by the above-described technological
16
17   protection measures.
18
19          20.      In their ordinary course of operation, the TPMs require Nintendo’s authorization to
20
21   gain access to Nintendo’s copyrighted works, thus allowing Nintendo to control access to and
22
23   copying of Nintendo’s copyrighted works.
24
25            Defendant’s Circumvention Device Enables Playability of Pirated Games
26          21.   Defendant sells a hardware device called the “RCM Loader,” the sole purpose of
27
28   which is to hack or “jailbreak” the Nintendo Switch video game console to allow people to play
29
30   pirated video games and other software. Nintendo has discovered that Defendant offers and sells
31
32   the RCM Loader through Amazon.com. Exhibit B contains a screenshot of the RCM Loader
33
34   product page on Amazon.
35
36          22.      The RCM Loader is made to be used with software (“payload injection files”) that
37
38   users then inject into their Nintendo Switch console to hack the device. Once the RCM Loader is
39
40   physically inserted into the Nintendo Switch, the accompanying payload injection files are injected
41
42   into the Nintendo Switch.
43
44
45


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 1          23.      Defendant’s RCM Loader is designed to facilitate the use of payload injection files
 2
 3   and unauthorized custom firmware (the “unauthorized CFW”) including, among others, a product
 4
 5   called SX OS. The unauthorized CFW is then used to circumvent the technological protection
 6
 7   measures that Nintendo implemented to prevent pirated video games and other unauthorized third-
 8
 9   party software from being played on the Nintendo Switch. Once this circumvention has occurred,
10
11   the unauthorized CFW modifies the authorized Nintendo Switch operating system, thereby
12
13   allowing users to obtain and play virtually any pirated game made for the Nintendo Switch. All of
14
15   this happens without authorization or compensation to Nintendo or to any authorized game
16
17   publishers.
18
19          24.      What is more, Defendant’s conduct facilitates the unauthorized copying of
20
21   Nintendo’s video game software. Users who already own a lawful copy of a Nintendo Switch game
22
23   can use the same unauthorized CFW to unlawfully copy the game software and share copies of it
24
25   with others who own Nintendo Switch consoles running the unauthorized CFW.
26
27          25.      Nintendo has permanently enjoined multiple resellers of license keys to the SX OS
28
29   software from selling, providing, or otherwise trafficking in any circumvention devices or software
30
31   that target Nintendo, Nintendo’s consoles, Nintendo’s technological protection measures, and/or
32
33   Nintendo’s copyrighted works. See Nintendo of America Inc. v. Tom Dilts Jr. and UberChips,
34
35   LLC, Case No. 3:20-CV-01076-JJH, Dkt. #16 (N.D. Ohio, October 2, 2020); Nintendo of America
36
37   Inc. v. ANXCHIP.COM, et al., Case No. 2:20-CV-00738-TSZ, Dkt #28 (W.D. WA, October 6,
38
39   2020). However, many copies of the SX OS software and similar unauthorized CFW remain in the
40
41   marketplace because of entities like Defendant who continue to traffic in circumvention devices
42
43   like the RCM Loader, which are designed to be used for the SX OS and other unauthorized CFW.
44
45


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 1          26.      On information and belief, the RCM Loader circumvention device interferes with
 2
 3   the normal operation of the Nintendo Switch console to circumvent the console’s sequence of
 4
 5   security checks and force it to run the unauthorized CFW. Using that unauthorized CFW, the
 6
 7   circumvention device modifies the authentic operating system to, among other things, retrieve the
 8
 9   authentic encryption keys necessary to access the encrypted data on the Nintendo Switch.
10
11          27.      On information and belief, the Nintendo Switch console then loads and runs the
12
13   unauthorized CFW, modifying the authorized Nintendo Switch operating system. The
14
15   unauthorized CFW at that point has full control of the console, allowing for the circumvention of
16
17   Nintendo’s game TPMs. This process allows hackers to copy, play, and further distribute
18
19   unauthorized copies of Nintendo’s and its licensees’ copyrighted video games, all without
20
21   detection by Nintendo.
22
23          28.      Nintendo has not authorized users to download or play any games on the Nintendo
24
25   Switch that were not purchased lawfully.
26
27          29.      Nintendo has never authorized Defendant nor any of Defendant’s customers to use
28
29   the RCM Loader to circumvent the Nintendo Switch’s technological protection measures to gain
30
31   access to Nintendo’s copyrighted works or to copy those works in this unauthorized manner.
32
33          30.      Defendant has sold and shipped its circumvention device directly to customers
34
35   through the Amazon e-commerce platform. Trafficking in the circumvention device is a direct
36
37   violation of Nintendo’s rights under 17 U.S.C. §§ 1201 & 1203, regardless of whether a user ever
38
39   actually uses the RCM Loader on the Nintendo Switch.
40
41          31.      After Defendant’s circumvention device was brought to Nintendo’s attention,
42
43   Nintendo filed a DMCA “takedown” notice with Amazon on October 21, 2020, under 17 U.S.C.
44
45


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 1   § 512(c) to remove the listing of Defendant’s RCM Loader product. This resulted in the temporary
 2
 3   removal of Defendant’s product listing on Amazon.
 4
 5            32.    In response to Nintendo’s DMCA takedown notice, Defendant submitted a DMCA
 6
 7   “counter-notification” to Amazon under 17 U.S.C. § 512(g)(3) on November 4, 2020. Pursuant to
 8
 9   § 512(g)(2)(B)–(C), Amazon had to inform Nintendo of the counter-notification. Section
10
11   512(g)(2)(B) and (C) also requires Amazon to replace the removed material or cease disabling
12
13   access to Defendant’s listing for the RCM Loader within ten (10) to fourteen (14) business days
14
15   from the date of the counter-notification, unless Nintendo provides Amazon notice that it has filed
16
17   an action in Court to restrain the Defendant from the infringing activity.
18
19            33.    Defendant’s unlawful conduct is causing and will continue to cause Nintendo
20
21   significant financial harm. Nintendo’s copyrighted games and game software are integral to the
22
23   Nintendo Switch console’s popularity. Nintendo’s business necessarily relies on the authorized
24
25   and licensed sale of authentic copies of the video games and on trust it has built over decades with
26
27   third-party game developers. Game developers operate under the guarantee that their games will
28
29   not be illegally distributed or used by persons who have not lawfully purchased their games.
30
31   Nintendo has invested and continues to invest in its technological protection measures to secure
32
33   its consoles and copyrighted games, and to ensure that users cannot use its consoles to play pirated
34
35   games.
36
37            34.    Defendant’s unlawful conduct falls squarely within the DMCA anti-trafficking and
38
39   anti-circumvention provisions. The RCM Loader enables the deactivation of Nintendo’s
40
41   technological protection measures—which Nintendo developed and put in place to protect its
42
43   copyrighted works from unlawful access and copying—thereby causing widespread piracy of
44
45   Nintendo’s copyrighted video games.

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 1           35.     Defendant’s importation, marketing, sale, offering to the public, and trafficking in
 2
 3   the RCM Loader circumvention device has directly injured and damaged Nintendo. Defendant’s
 4
 5   conduct infringes and threatens irreparable injury to Nintendo’s intellectual property rights and
 6
 7   violates the anti-trafficking provisions of the DMCA entitling Nintendo to the relief sought herein.
 8
 9           36.     Without the intervention of this Court, Defendant will continue to engage in illegal
10
11   conduct in this District and the United States undeterred, causing continued irreparable harm to
12
13   Nintendo.
14
15                                           V. COUNT ONE
16
17                     (Trafficking in Devices in Violation 17 U.S.C. § 1201(a)(2))
18           37.     Nintendo repeats and reasserts every allegation contained in paragraphs 1–36 as if
19
20   fully set forth here.
21
22           38.     Section 1201(a)(2) of the DMCA, 17 U.S.C. § 1201(a)(2), prohibits the trafficking
23
24   of devices that are primarily designed to circumvent technological protections that effectively
25
26   control access to copyrighted works.
27
28           39.     The Nintendo Switch’s technological protection measures effectively control
29
30   access to works protected by the Copyright Act, including the proprietary and copyrighted
31
32   operating system of the Nintendo Switch as well as Nintendo’s video games playable on the
33
34   Switch.
35
36           40.     The Nintendo Switch’s technological protection measures require the application
37
38   of information, or a process or a treatment, with Nintendo’s authority, to gain access to the
39
40   Nintendo Switch console and any copyrighted games playable on the Switch.
41
42
43
44
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 1          41.     Defendant manufactures, imports, offers to the public, provides, and otherwise
 2
 3   traffics in a circumvention device and software that circumvents the technological measures on the
 4
 5   Nintendo Switch—specifically, the RCM Loader.
 6
 7          42.     The RCM Loader is primarily designed and produced for the purpose of
 8
 9   circumventing the Nintendo Switch’s technological protection measures. Defendant sells the RCM
10
11   Loader and its accompanying software for the purpose of circumventing Nintendo’s technological
12
13   protection measures.
14
15          43.     The RCM Loader and accompanying software have no commercially significant
16
17   purposes or uses other than to circumvent Nintendo’s technological protection measures. On
18
19   information and belief, the only purpose of Defendant’s circumvention device is to circumvent
20
21   Nintendo’s technological protection measures.
22
23          44.     On information and belief, Defendant knows that its RCM Loader is intended to
24
25   circumvent Nintendo’s technological protection measures that control access to Nintendo’s
26
27   copyrighted works.
28
29          45.     Thus, Defendant’s conduct violates 17 U.S.C. § 1201(a)(2)(A), (B), and (C).
30
31          46.     Each such offering to the public, provision, or other act of trafficking constitutes a
32
33   violation of 17 U.S.C. § 1201. Nintendo is entitled to damages from each violation under 17 U.S.C.
34
35   § 1203(c)(1), and injunctive relief under § 1203(b)(1).
36
37          47.     Defendant’s actions are willful, intentional, purposeful, and in disregard of and
38
39   indifferent to the rights of Nintendo.
40
41          48.     As a direct and proximate result of Defendant’s acts, Nintendo is entitled to the
42
43   maximum statutory damages, pursuant to 17 U.S.C. § 1203(c)(3)(A), in the amount of $2,500, or
44
45   such other amounts that may be proper under 17 U.S.C. § 1203(c), for each act in violation of 17

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 1   U.S.C. § 1201. In the alternative, pursuant to 17 U.S.C. § 1203(c)(2), Nintendo is entitled to its
 2
 3   actual damages, as well as to Defendant’s profits from these violations, in amounts to be shown at
 4
 5   trial.
 6
 7            49.     Nintendo is entitled to its costs, including reasonable attorneys’ fees, pursuant to
 8
 9   17 U.S.C. § 1203(b).
10
11            50.     Defendant’s conduct is causing and, unless enjoined by this Court, will continue to
12
13   cause Nintendo great and irreparable injury for which there is no adequate remedy at law. Pursuant
14
15   to 17 U.S.C. § 1203(b)(1), Nintendo is entitled to permanent injunctive relief prohibiting
16
17   Defendant from engaging in future acts of offering to the public, providing, or otherwise
18
19   trafficking in the circumvention devices and accompanying software.
20
21                                           VI. COUNT TWO
22
23                     (Trafficking in Devices in Violation of 17 U.S.C. § 1201(b)(1))
24            51.     Nintendo repeats and realleges every allegation contained in paragraphs 1 through
25
26   50 as if fully set forth here.
27
28            52.     Section 1201(b) of the DMCA, 17 U.S.C. § 1201(b), prohibits the trafficking of
29
30   devices that are primarily designed to circumvent technological protection measures that prevent
31
32   the unlawful copying of copyrighted works.
33
34            53.     The Nintendo Switch’s technological measures effectively protect Nintendo’s and
35
36   third-party copyrighted works. These copyrighted works include the Nintendo Switch operating
37
38   system and Nintendo’s video games playable on the Nintendo Switch.
39
40            54.     The Nintendo Switch’s technological protection measures, in the ordinary course
41
42   of their operation, prevent, restrict, or otherwise limit a Nintendo Switch user from copying
43
44
45


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 1   Nintendo’s copyrighted works. The technological protection measures also control whether a user
 2
 3   can play unauthorized copies of Nintendo’s copyrighted works on the Nintendo Switch.
 4
 5          55.     Through Defendant’s RCM Loader circumvention device, which is intended to be
 6
 7   used to hack the Nintendo Switch’s authentic operating system, Defendant offers to the public,
 8
 9   provides, and otherwise traffics in devices designed to circumvent the technological protection
10
11   measures on the Nintendo Switch.
12
13          56.     The RCM Loader is primarily designed and produced for the purpose of
14
15   circumventing the Nintendo Switch’s technological protection measures. Defendant sells the RCM
16
17   Loader and its accompanying software for the purpose of circumventing Nintendo’s technological
18
19   protection measures.
20
21          57.     Defendant’s RCM Loader and its accompanying software have no commercially
22
23   significant purposes or uses other than to circumvent Nintendo’s technological protection
24
25   measures. On information and belief, the only purpose of Defendant’s circumvention device is to
26
27   circumvent Nintendo’s technological protection measures.
28
29          58.     On information and belief, Defendant knows that its RCM Loader is intended to
30
31   circumvent Nintendo’s technological protection measures that control access to Nintendo’s
32
33   copyrighted works.
34
35          59.     Thus, Defendant’s conduct violates 17 U.S.C. § 1201(b)(1)(A), (B), and (C).
36
37          60.     Defendant violates 17 U.S.C. § 1201 each time Defendant offers, provides, or
38
39   traffics the circumvention device and accompanying software to the public. Nintendo is entitled to
40
41   damages for each instance of the foregoing conduct under 17 U.S.C. § 1203(c) and to injunctive
42
43   relief under § 1203(b)(1).
44
45


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 1           61.       Defendant’s acts are willful, intentional, purposeful, and in disregard of and
 2
 3   indifferent to the rights of Nintendo.
 4
 5           62.       As a direct and proximate result of Defendant’s violation of 17 U.S.C. § 1201,
 6
 7   Nintendo is entitled to the maximum statutory damages, pursuant to 17 U.S.C. § 1203(c)(3)(A), in
 8
 9   the amount of $2,500 with respect to each act of offering to the public, provision, or otherwise
10
11   trafficking in the circumvention device and software, or such other amounts as may be proper
12
13   under 17 U.S.C. § 1201(c). In the alternative, pursuant to 17 U.S.C. § 1203(c)(2), Nintendo is
14
15   entitled to its actual damages, as well as to Defendant’s profits from these violations, in amounts
16
17   to be shown at trial.
18
19           63.       Nintendo is entitled to its costs, including reasonable attorneys’ fees, pursuant to
20
21   17 U.S.C. § 1203(b).
22
23           64.       Defendant’s conduct is causing and, unless enjoined by this Court, will continue to
24
25   cause Nintendo great and irreparable injury for which is there is no adequate remedy at law.
26
27   Pursuant to 17 U.S.C. § 1203(b)(1), Nintendo is entitled to permanent injunctive relief prohibiting
28
29   Defendant from engaging in further acts of offering to the public, providing, or otherwise
30
31   trafficking in circumvention devices and software.
32
33                                            VII. COUNT THREE
34
35                     (Abuse of DMCA Counter-Notification Under 17 U.S.C. § 512(f))
36           65.        Nintendo repeats and realleges every allegation in paragraphs 1–64 above as if fully
37
38   set forth here.
39
40           66.       After Nintendo initiated a DMCA takedown to prevent Defendant from trafficking
41
42   in the circumvention device, Defendant filed a counter-notification with Amazon.
43
44
45


     COMPLAINT - 14                                                     GORDON       600 University Street
     No.                                                                 TILDEN      Suite 2915
                                                                        THOMAS       Seattle, WA 98101
                                                                        CORDELL      206.467.6477
                      Case 2:20-cv-01707 Document 1 Filed 11/18/20 Page 15 of 26




 1              67.     Defendant abused the DMCA counter-notification system and misrepresented
 2
 3   material facts when it submitted the counter-notification to Amazon. Defendant is well aware that
 4
 5   it traffics in a circumvention device intended to circumvent Nintendo’s technological protection
 6
 7   measures. By submitting a counter-notification, however, Defendant asks Amazon to rely on
 8
 9   Defendant’s misrepresentations and to replace and restore access to Defendant’s infringing product
10
11   listing.
12
13              68.     Defendant’s conduct thus violates 17 U.S.C. § 512(f).
14
15              69.     Defendant has realized or is likely to soon realize unjust profits and unjust
16
17   enrichment as a proximate result of its abuse of the DMCA counter-notification system in an
18
19   amount yet to be determined.
20
21              70.     As a direct and proximate result of Defendant’s abuse of the DMCA system,
22
23   Nintendo has suffered and will continue to suffer actual damages. Nintendo is entitled to actual
24
25   damages and any gains, profits, and advantages obtained by Defendant resulting from Defendant’s
26
27   abuse of the DMCA counter-notification system.
28
29              71.     Nintendo is further entitled to recover its attorneys’ fees and full costs per 17 U.S.C.
30
31   § 512(f).
32
33                                            VIII. JURY DEMAND
34
35              Nintendo demands that this matter be heard before a jury on all issues so triable.
36
37                                         IX. PRAYER FOR RELIEF
38
39              Plaintiff Nintendo of America respectfully requests that this Court enter judgment against
40
41   Defendant Le Hoang Minh, d/b/a Winmart, for the following relief:
42
43              A.      declare that Defendant’s actions constitute violations of 17 U.S.C. § 1201 and 17
44
45   U.S.C. § 512(f).


     COMPLAINT - 15                                                       GORDON        600 University Street
     No.                                                                   TILDEN       Suite 2915
                                                                          THOMAS        Seattle, WA 98101
                                                                          CORDELL       206.467.6477
                 Case 2:20-cv-01707 Document 1 Filed 11/18/20 Page 16 of 26




 1          B.      award equitable relief under Titles 17 and 28, and this Court’s inherent equitable
 2
 3   powers, as is necessary to prevent or restrain Defendant’s further violations, including: (1) a
 4
 5   permanent injunction prohibiting Defendant—including Defendant’s officers, servants,
 6
 7   employees, attorneys, and others in active concert or participation with any of these parties—from
 8
 9   offering to the public, marketing, selling, providing, or otherwise trafficking in the RCM Loader
10
11   circumvention device, including all accompanying software, and any other circumvention devices
12
13   or software that target Nintendo, Nintendo’s consoles, or copyrighted works; and (2) prohibiting
14
15   Defendant from engaging in any other violation of the DMCA or Copyright Act, or any other
16
17   federal or state law, that results in harm to Nintendo.
18
19          C.      order under 17 U.S.C. § 1203 for the seizure, impoundment, and destruction of all
20
21   circumvention devices, all copies of software accompanying the RCM Loader, and all other
22
23   electronic material or physical devices within Defendant’s custody, possession, or control—
24
25   including any hard drives or other electronic storage devices containing such material—that violate
26
27   Nintendo’s rights under the DMCA or infringe upon copyrights owned or exclusively licensed by
28
29   Nintendo.
30
31          D.      order Defendant to file a written report with the Court, with service to Nintendo,
32
33   setting forth in detail the manner in which Defendant has complied with all of Defendant’s
34
35   requirements under this order within thirty (30) days after service of judgment with notice of entry.
36
37          E.      award statutory damages under 17 U.S.C. § 1203(c) in the amount of $2,500 per
38
39   violation of 17 U.S.C. § 1201, arising from Defendant’s willful violations of the anti-trafficking
40
41   provisions of the DMCA. In the alternative, pursuant to 17 U.S.C. § 1203(c)(2), award Nintendo
42
43   its actual damages as well as Defendant’s profits from Defendant’s violations of 17 U.S.C. § 1201,
44
45   in amounts to be proven at trial.

     COMPLAINT - 16                                                  GORDON       600 University Street
     No.                                                              TILDEN      Suite 2915
                                                                     THOMAS       Seattle, WA 98101
                                                                     CORDELL      206.467.6477
                      Case 2:20-cv-01707 Document 1 Filed 11/18/20 Page 17 of 26




 1               F.     order an accounting, the imposition of a constructive trust, and restitution of
 2
 3   Defendant’s unlawful proceeds from its violations of 17 U.S.C. § 1201, in an amount to be proven
 4
 5   at trial.
 6
 7               G.     award Nintendo’s costs and reasonable attorney’s fees under 17 U.S.C. § 1203(b).
 8
 9               H.     award prejudgment and post-judgment interest.
10
11               I.     award any other relief as the Court may deem just and proper.
12
13
14
15               DATED this 18th day of November, 2020.
16
17                                               GORDON TILDEN THOMAS & CORDELL LLP
18                                               Attorneys for Plaintiff Nintendo of America Inc.
19
20                                               By     s/ Chelsey L. Mam
21                                                      Chelsey L. Mam, WSBA #44609
22
23                                                 By    s/ Michael Rosenberger
24                                                      Michael Rosenberger, WSBA #17730
25
26                                                      600 University Street, Suite 2915
27                                                      Seattle, Washington 98101
28                                                      Tel: 206.467.6477
29                                                      mrosenberger@gordontilden.com
30                                                      cmam@gordontilden.com
31
32                                                 PIRKEY BARBER PLLC
33                                                 Attorneys for Plaintiff Nintendo of America Inc.
34
35                                                 By    s/ Christopher Weimer
36                                                      Christopher Weimer (pro hac vice pending)
37                                                      Travis W. Wimberly (pro hac vice pending)
38                                                      1801 E. 6th St., Suite 300
39                                                      Austin, TX 78702
40                                                      512.322.5200
41                                                      cweimer@pirkeybarber.com
42                                                      twimberly@pirkeybarber.com
43
44
45


     COMPLAINT - 17                                                     GORDON     600 University Street
     No.                                                                 TILDEN    Suite 2915
                                                                        THOMAS     Seattle, WA 98101
                                                                        CORDELL    206.467.6477
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           EXHIBIT A
                     Case 2:20-cv-01707 Document 1 Filed 11/18/20 Page 19 of 26




From:                counter-notice@amazon.com
Sent:                Wednesday, November 4, 2020 9:06 AM
To:                  IP Enforcement
Cc:                  minhkayak43@gmail.com
Subject:             RE:[CASE 7521067811] Re: Notice: Policy Warning




Hello,

We have received the attached counter notice to your report of posting, hosting and/or distributing unlicensed
copyright protected material on our network. We will allow this material to be accessible, unless you provide us with
notice that a lawsuit has been filed against the counter‐noticing party within 10 business days. Please ensure a copy is
sent to counter‐notice@amazon.com to help ensure efficient processing.

Regards,

Amazon.com


Dear Amazon.com Legal Department

This letter is a formal response to a claim of copyright infringement against ASIN: B07YWCZBQR received on Oct 21,
2020, that were uploaded and published on Amazon.com.
‐ Infringement type: Copyright
‐ Complaint ID: 6899975771
I believe the claims of copyright infringement made by A Hagen:
ipenforcement@noa.nintendo.com are inaccurate and should be rejected
because:

The material in question is not copyrighted, or the copyright has expired in the United States of America. It is therefore
in the public domain and may be reproduced by anyone.

The complainant has provided no copyright registration information or other tangible evidence that the material in
question is in fact copyrighted, and I have a good faith belief that it is not. The allegation of copyright violation is
therefore in dispute, and at present unsupported.

The complainant does not hold the copyright to the material in question, is not the designated representative of the
copyright holder, and therefore lacks standing to assert that my use of the material is a violation of any of the owner’s
rights.

My use of the material is legally protected because it falls within the “fair use” provision of the copyright regulations, as
defined in 17 USC 107. If the complainant disagrees that this is fair use, they must work directly with me, though legally
viable channels, to resolve the dispute.
Amazon.com and its employees under no obligation to settle this dispute, or to take any action to restrict my speech at
the behest of this complainant.

The complaint does not follow the prescribed form for notification of an alleged copyright violation as set forth in the
Digital Millennium Copyright Act, 17 USC 512©(3). Specifically, the complainant has failed to:

                                                              1
                     Case 2:20-cv-01707 Document 1 Filed 11/18/20 Page 20 of 26

• Provide a complaint in written form. [17 USC 512©(3)(A)] • Include a physical or electronic signature of the
complainant. [17 USC512©(3)(A)(i)] • Identify the specific copyrighted work claimed to be infringed, or, if multiple
copyrighted works are covered by a single complaint, provide a representative list of such works. [17 USC 512©(3)(A)(ii)]
• Provide the URLs for the specific files on my web site that are alleged to be infringing. [17 USC 512©(3)(A)(iii)] •
Provide sufficient information to identify the complainant, including full name, mailing address, telephone number, and
email address. [17 USC 512©(3)(A)(iv)] • Include a written statement that the complainant has a good faith belief that
use of the disputed material is not authorized by the copyright owner, its agent, or the law. [17 USC 512©(3)(A)(v)] •
Include a written statement that the information in the notification is accurate, and under penalty of perjury, that the
complainant is authorized to act on behalf of the owner of an exclusive right that is allegedly infringed. [17 USC
512©(3)(A)(vi)]

This communication to you is a DMCA counter notification letter as defined in 17 USC 512(g)(3):

I declare, under penalty of perjury, that I have a good faith belief that the complaint of copyright violation is based on
mistaken information, misidentification of the material in question, or deliberate misreading of the law.

I ask that Amazon.com, upon receipt of this counter‐notification, restore the material in dispute, unless the complainant
files suit against me within ten (10) days, pursuant to 17 USC 512(g)(2)(B).

My name, address, and telephone number are:
Le Hoang Minh
190, Da Nang, Thanh Khe, Vietnam ‐ 550000
+84983811511

I hereby consent to the jurisdiction of any United States federal district court in which Amazon.com and its affiliates may
be found.

I agree to accept service of process from the complainant.

Best regards,
Le Hoang Minh

Copyright/Trademark Agent
Amazon.com

‐‐




                                                              2
Case 2:20-cv-01707 Document 1 Filed 11/18/20 Page 21 of 26




           EXHIBIT B
10/7/2020                             Case
                              Amazon.com:     2:20-cv-01707
                                          Bluetooth                   Document
                                                    Payloads Injector Wireless        1 Audio
                                                                               Bluetooth  Filed
                                                                                              USB11/18/20     Page
                                                                                                 Type-c Transmitter    22 for
                                                                                                                    Support ofBluetooth
                                                                                                                               26       Headset or Speaker, …

  Skip to main content                  Electronics
                                                                                                                                                                                            Hello, NINTENDO…
                                                                                                                                                                                            Account   & Lists    Returns                           1
                                                                                                                                                                                            Account              & Orders       Try Prime                Cart

     Deliver to Andrew
     Redmond 98052                    NINTE… 's Amazon.com           Browsing History       Best Sellers     Customer Service        Prime Video      Today's Deals       Whole Foods     Buy Again    New Releases    Gift Cards      Pantry   Coupons


    Computers               Laptops                       Desktops                      Monitors                     Tablets                        Computer Accessories                     PC Components                         PC Gaming             Deals




  Electronics › Portable Audio & Video › MP3 & MP4 Player Accessories



    Consider these available items
                                  Upgrade Bluetooth Payloads Injector Wireless                                   [Upgrade 2020] Bluetooth Payloads Injector                                           Upgrade Payloads Injector Wireless Audio USB
                                  Bluetooth Audio USB Type-c Transmitter                                         Wireless Bluetooth Audio USB Type-c                                                  Type-c Transmitter Support for Nintend Switch
                                  Support for Nintend Switch for PC Host Use,                                    Transmitter Support for Nintend Switch for PC                                        for PC Host Use, Speaker, Support Game…
                                  S…                                                                             Host Use, S…
                                                 29                                                                              17                                                                               20
                                  $2199                                                                          $2199                                                                                $2999

  Subm                                                                                                                 Bluetooth Payloads Injector Wireless                                                               Currently unavailable.
                                                                                                                       Bluetooth Audio USB Type-c Transmitter                                                          We don't know when or if this
                                                                                                                                                                                                                        item will be back in stock.
  Subm
                                                                                                                       Support for Bluetooth Headset or Speaker,                                                           Deliver to Andrew - Redmond


  Subm
                                                                                                                       Support GameSir VX, Portable Bluetooth                                                              98052


                                                                                                                       Audio Adapter                                                                                   Add to List
  Subm                                                                                                                 Brand: WINMART
                                                                                                                                            150 ratings | 23 answered questions
                                                                                                                                                                                                                            Share
  Subm                                                                                                                 Currently unavailable.
                                                                                                                       We don't know when or if this item will be back in stock.
  Subm                                                                                                                    Support system-wide version, region-wide FOR SWITCH Support for native
                                                                                                                          payload. bin injection ﬁles
  Subm                                                                                                                    Built-in lithium batteries, one charge to support thousands of injections
                                                                                                                          Built-in Atmosphere, ReiNX, SXOS injection ﬁles, one-click switching
                                                                                                                          Update management is convenient. Connecting computer automatically
                                                                                                                          identiﬁes as U disk, copy and paste can be updated.
                                                                                                                          Strong compatibility, support Windows, OS, Linux, Android and other
                                                                                                                          systems

                                                                                                                          Report incorrect product information.



                                              Click image to open expanded view




  Customers who viewed this item also viewed                                                                                                                                                                                                     Page 1 of 8




              Upgrade Bluetooth                  Flydigi Wasp Wing            Phanteks Evolv Sound             Gaoye Blue Light                    TINYSCOPE Mobile               RGB Headphone Stand
              Payloads Injector                  Portable Mobile Phone        Mini (PH-                        Blocking Glasses                    Microscope, 20 to 400x         with Wireless Charger
              Wireless Bluetooth                 Cooling Fan for Android      SPK219_DBK01),                   Women/Men, Spring                   Magniﬁcation, Turn Your        KAFRI Desk Gaming
              Audio USB Type-c…                  iOS                          Compact, Gaming…                 Hinge TR90 Frame…                   Cell Phone into a…             Headset Holder…
                             29                              207                              114                              348                                 72                           378
              $21.99                             $21.99                       $31.99                           $16.99                              $29.99                         $24.99
              Only 16 left in stock - orde…                                   Only 9 left in stock - order                                         Only 5 left in stock - order




  More items to explore                                                                                                                                                                                                                         Page 1 of 17




              Samsung Electronics                SanDisk 128GB Ultra          PNY 512GB PRO Elite              SanDisk 128GB                       Spigen Tempered Glass          RCM Jig, RCM Clip Short
              EVO Select 256GB                   microSDXC UHS-I              Class 10 U3 V30                  microSDXC UHS-I-                    Nintendo Switch Screen         Connector for Nintendo
              microSDXC UHS-I U3                 Memory Card with             microSDXC Flash                  Memory-Card for                     Protector [ 9H…                Switch Joy-Con RCM
              100MB/s Full HD & 4K…              Adapter - 100MB/s,…          Memory Card                      Nintendo-Switch…                    Spigen                         Tool for NS Recovery…
                             44,112                          352,575                          1,055                            42,086                            1,546                          454
                                                                                                                                                   Nintendo Switch
              $34.99                             $18.99                       $99.99                           $26.21                                                             $7.50
                                                                                                                                                   $10.99



  Special offers and product promotions
                               Included with purchase
                               Get 90 DAYS FREE of Amazon Music Unlimited with purchase of this eligible product. You will receive an email after purchase with instructions to sign up. Terms apply.


         Amazon Business : For business-only pricing, quantity discounts and FREE Shipping. Register a free business account

https://www.amazon.com/dp/B07YWCZBQR                                                                                                                                                                                                                            1/5
10/7/2020                            Case
                             Amazon.com:     2:20-cv-01707
                                         Bluetooth                   Document
                                                   Payloads Injector Wireless        1 Audio
                                                                              Bluetooth  Filed
                                                                                             USB11/18/20     Page
                                                                                                Type-c Transmitter    23 for
                                                                                                                   Support ofBluetooth
                                                                                                                              26       Headset or Speaker, …



  Have a question?
  Find answers in product info, Q&As, reviews

       Type your question or keyword




  Product description

        Features:

        Support system-wide version, region-wide FOR SWITCH

        Support for native payload. bin injection ﬁles

        Built-in lithium batteries, one charge to support thousands of injections

        Built-in Atmosphere, ReiNX, SXOS injection ﬁles, one-click switching

        Update management is convenient. Connecting computer automatically identiﬁes as U disk, copy and paste can be updated.

        Strong compatibility, support Windows, OS, Linux, Android and other systems

        Technical speciﬁcations:

        Compatibility:

        Compatible with Windows/OS/Linux/Android and other systems

        Battery: built-in 45mAh lithium battery

        One thousand payloads per hour of charging

        Full standby time for three months

        Interface and peripheral: Micro-USB master port

        Type-C Head

        Colorful LED lamp

        Function key

        Reset hole

        Usage method:

        Copy the SD card ﬁle to the microSD root directory FOR SWITCH.

        MicroSD cards recommend using exFAT format to support ﬁles larger than 4G.

        Insert RCMloader into FOR SWITCH host for charging.

        FOR SWITCH starts, RCMloader inserts into the host, full of electricity will turn on the white light, press the FOR SWITCH power button for 7 seconds, and choose to shut down.

        Insert RCMloader and RCMclip into FOR SWITCH host.

        The charged RCM loader is inserted into the Type-C port, and the RCM lip is inserted into the bottom of the right handle groove.

        Hold down the volume + key FOR SWITCH, then press the power key to enter the homemade system.

        After entering the self-made system, the RCMloader injector and RCMclip short-circuit rod can be pulled out.

        Packing contents:

        1X RCM loader ONE injector

        1X RCMclip Short Circuit Bar

        1X Micro USB cable




  Product information


      Package Dimensions                                          2.36 x 1.65 x 0.71 inches                                     Feedback

      Item Weight                                                 0.634 ounces                                                  Would you like to tell us about a lower price?

      Manufacturer                                                Kitchen PUB

      ASIN                                                        B07YWCZBQR

      Customer Reviews                                                                 150 ratings
                                                                  4.5 out of 5 stars

      Best Sellers Rank                                           #10,286 in MP3 & MP4 Player Accessories

      Date First Available                                        October 8, 2019


  Related video shorts (0) Upload your video




   Be the ﬁrst video
   Your name here




  Customer questions & answers
       Have a question? Search for answers



https://www.amazon.com/dp/B07YWCZBQR                                                                                                                                                      2/5
10/7/2020                            Case
                             Amazon.com:     2:20-cv-01707
                                         Bluetooth                   Document
                                                   Payloads Injector Wireless        1 Audio
                                                                              Bluetooth  Filed
                                                                                             USB11/18/20     Page
                                                                                                Type-c Transmitter    24 for
                                                                                                                   Support ofBluetooth
                                                                                                                              26       Headset or Speaker, …
                 Question:      will this have SX os license or do i need to purchase that as well?
     0
                 Answer:        you have to purchase a license, this just has the payload to boot it up
    votes
                                By Steven Stephenson on August 3, 2020


                 Question:      Can it connect to the tv?
     0
                 Answer:        No. It's meant for your NINTENDO switch
    votes
                                By tee h.… on March 20, 2020


                 Question:      Does this come with everything or no
     0
                 Answer:        yes, my package full part on photo, 1X RCM loader ONE injector, 1X RCMclip Short Circuit Bar, 1X
    votes
                                Micro USB cable
                                By WINMART SELLER on January 22, 2020


                 Question:      can someone tell me how this works and what are the risks of getting ban on nintendo switch ?
     0
                 Answer:        This has the payload to launch custom ﬁrmware on your switch. There is a whole reddit on how the
    votes
                                custom ﬁrmware works and guide on how to do it. You can get banned, i have a banned switch so
                                proceed with caution
                                By Steven Stephenson on August 3, 2020


                                  See more answered questions (19)




  Customer reviews                                                         Customer images

                     4.5 out of 5
  150 global ratings

  5 star                                    80%
  4 star                                      9%
  3 star                                      1%
  2 star                                      5%
  1 star                                      6%                           See all customer images
   How are ratings calculated?
                                                                           Read reviews that mention

                                                                             payload injector         easy to update    bluetooth       jig      payloads

  By feature
                                                                             youtube

  Battery life                                     4.0

  Sound quality                                    2.3

                                                                            Top reviews
                                                                            Top  reviews


                                                                           Top reviews from the United States
  Review this product
                                                                                  Ryan Trade
  Share your thoughts with other customers
                                                                                         Works perfectly - now I have emulators galore on my Switch!
                 Write a customer review                                   Reviewed in the United States on November 20, 2019
                                                                           Veriﬁed Purchase

                                                                           Not sure what the other reviewer was talking about, but mine was perfect. Jig worked even after I messed
                                                                           with my Switch with the "paper clip" method (which I actually got to work, but it's impossible to use
                                                                           multiple times so the jig is basically required).

                                                                           Injector works everytime, I even dropped mine a few times and still working normally. The included shorty
                                                                           micro usb cord is a nice touch, so far so good! I now have CFW on my Switch and dozens of games and
                                                                           emulators with thousands of snes, genesis, 3do, tg16 and multiple other game systems onboard :):) I'm a
                                                                           happy camper!




                                                                           10 people found this helpful

                                                                            Mark this revie
                                                                              Helpful           Comment        Report abuse


                                                                                  Nick

                                                                                         Bluetooth for the Switch!
                                                                           Reviewed in the United States on April 9, 2020
                                                                           Veriﬁed Purchase
                                                                           Ignore the title, Let's be real here. You want this thing to gen pokemon for sword and shield. Me too that's
                                                                           the reason I purchase this PAYLOAD injector, do not buy this to get Bluetooth on your switch

                                                                           Before purchasing make sure your Switch can be hacked by checking the serial number online, most likely
                                                                           your switch will not be able to get CFM on it if you bought after 2017.

                                                                           If your switch is Hackable make sure you follow a step by step youtube tutorial and check for updates on
                                                                           youtube as with each Nintendo Switch ﬁrmware update certain things may be patched.

                                                                           Just be careful and be smart with this item, it can be a great tool but tools can cause accidents if not used
                                                                           properly.

                                                                           5 people found this helpful

                                                                            Mark this revie
                                                                              Helpful           Comment        Report abuse


                                                                                  mike greene

                                                                                         Very useful
                                                                           Reviewed in the United States on December 6, 2019

https://www.amazon.com/dp/B07YWCZBQR                                                                                                                                                       3/5
10/7/2020                 Case
                  Amazon.com:     2:20-cv-01707
                              Bluetooth                   Document
                                        Payloads Injector Wireless        1 Audio
                                                                   Bluetooth  Filed
                                                                                  USB11/18/20     Page
                                                                                     Type-c Transmitter    25 for
                                                                                                        Support ofBluetooth
                                                                                                                   26       Headset or Speaker, …
                                                Veriﬁed Purchase   Early Reviewer Rewards (What's this?)
                                                Works exactly as seen in the youtube videos.. u can shuﬄe thru the diﬀerent payloads to ﬁnd the 1 u need
                                                for your speciﬁc exploit.. very useful over using a paperclip and hooking your switch to a pc.. 5 star
                                                5 people found this helpful

                                                 Mark this revie
                                                   Helpful          Comment        Report abuse


                                                       Robert

                                                              PEBKAC
                                                Reviewed in the United States on May 13, 2020
                                                Veriﬁed Purchase
                                                I thought it was broken when I ﬁrst got it, because the light kept ﬂashing red and my switch would not
                                                boot into CFW. I was about to return it thinking it was defective when I noticed the website on the box so I
                                                went there and read their handy instructions and it works perfectly.
                                                3 people found this helpful

                                                 Mark this revie
                                                   Helpful          Comment        Report abuse


                                                       Alfredo

                                                              No issues this time
                                                Reviewed in the United States on November 16, 2019
                                                Veriﬁed Purchase
                                                The jig pin is out of place into the rest of the plastic and is unusable. Disappointing.

                                                Edit: Replacement came in and the jig is functional this time around. The rest of the items work just ﬁne.




                                                5 people found this helpful

                                                 Mark this revie
                                                   Helpful          Comment        Report abuse


                                                       Casey N.

                                                              Perfect for Payload Injection! Switched from SX Pro to this Dongle.
                                                Reviewed in the United States on July 20, 2020
                                                Veriﬁed Purchase
                                                Bought this after the capacitors in my SX Pro dongle failed. Obviously this is not a Bluetooth audio adapter.
                                                Don’t buy it expecting that feature. But very nice Payload injector. Came with several payloads installed.
                                                Easy to update/use, charges quickly and works well. Sturdy design. Love that the single itself has a ﬁtted
                                                slot to hold the jig when not being used, and that it came with a little case.
                                                One person found this helpful

                                                 Mark this revie
                                                   Helpful          Comment        Report abuse


                                                       Ricardo

                                                              This Injector works
                                                Reviewed in the United States on April 7, 2020
                                                Veriﬁed Purchase
                                                Pro:
                                                • Easy to add or update payloads.
                                                • Easy to update ﬁrmware.
                                                • Easy to select payload to be injected.
                                                • Easy to recharge

                                                Cons:
                                                • Battery life is short, does not inject even 100 payloads per charge.
                                                3 people found this helpful

                                                 Mark this revie
                                                   Helpful          Comment        Report abuse


                                                       Timothy Pitcher

                                                              A very handy payload loader
                                                Reviewed in the United States on May 9, 2020
                                                Veriﬁed Purchase
                                                I acquired this item over a month ago, and boy was I impressed. The RCM Loader is a very handy accessory
                                                for loading payload ﬁles, and can save people the trouble of having to connect their Nintendo Switch to a
                                                PC computer. The only downside with the accessory is that it can only be used on older Nintendo Switch
                                                models, but as long as you have the right model, you should be all good.

                                                For those who wish to run mods on their Nintendo Switch games, this is an accessory that I'd recommend
                                                buying.

                                                 Mark this revie
                                                   Helpful          Comment        Report abuse




                                                See all reviews




  What other items do customers buy after viewing this item?




https://www.amazon.com/dp/B07YWCZBQR                                                                                                                            4/5
10/7/2020              Case
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